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      GOV’T EXHIBIT 1
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UNITED STATES                                                     )         Case No.: CR 19-00100-VC
                                                                  )
v.
                                                                  )         DECLARATION OF
                                                                  )         MARLENE BONNELLY
RAMON COFIELD
                                                                  )
                                                                  )
I, Marlene Bonnelly, declare:
     1.   I am a Trust & Safety Lead for Tumblr, Inc. ("Tumblr") located in New York. I am authorized to submit this
          declaration on behalf of Tumblr. I have personal knowledge of the following facts, except as noted, and
          could testify competently thereto if called as a witness.
     2.   Tumblr is a private company, not a governmental entity, and was originally formed in 2007. It was
          purchased by Yahoo! in 2013, sold to Verizon in 2017, and most recently acquired by Automattic Inc. in
          2019. Tumblr is a global, online platform that allows its users to create individualized, interest-based blogs
          and post text, photo, video, and other content for others to view and interact with on the Internet.
     3.   For detection of Child Sexual Abuse Material (CSAM) images, Tumblr uses a mix of automated tools,
          technology, and user reports. Currently, when new content is uploaded to our platforms, we automatically
          scan and match the uploaded media against NCMEC's database of known CSAM using PhotoDNA, which
          is an automated image-detection technology used to identify CSAM. We also have a team of highly-trained
          content moderation experts, supported by our legal and policy teams, who personally review and report
          instances of CSAM, including any positive hits resulting from our automated processes.
     4.   CSAM is one category of illegal content that is of particular concern to us at Tumblr. This content is
          abhorrent and has no place on any of our platforms. Because we believe that it is in our and society’s
          interests to combat the exploitation of children, we have zero tolerance for this content and promptly report
          violations to relevant agencies.
     5.   As reflected in the CyberTipline Report 25390444, the image at issue (filename: 78180748604.jpg) was
          uploaded to the Tumblr account on March 1, 2014 at 00:14:59 EST.
     6.   Attached as Exhibits A and B are copies of the Privacy Policy and Terms of Service that were in effect at
          the time the blog was terminated in 2014 and also at the time the NCMEC report was sent.
     7.   The specific media at issue was identified using PhotoDNA, but was also viewed by a Tumblr employee
          prior to submission to NCMEC.
     8.   The blog to which the subject media was uploaded was terminated in 2014 for a violation of Tumblr’s
          Terms of Service. Tumblr’s implementation of PhotoDNA in 2017 surfaced the reported content which was
          then reviewed and reported to NCMEC at that time.

I hereby declare, certify or state, under the penalty of perjury, that the foregoing is true and correct.


NAME: _________________________________                           DATED: _______________
      Marlene Bonnelly
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               EXHIBIT A

(To Tumblr Declaration)
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         tumblr/policy
             Code               Pull requests 18                     Actions                Projects   Security             Insights

                 adfff367b5
   policy / privacy-policy.txt
                  Chris M Johnson Grammar cleanup                                                                             History
             1 contributor

          Raw         Blame
       403 lines (331 sloc)                22.3 KB

             1     Tumblr, Inc. ("Tumblr," "we," "us," or "our") takes the private nature of your
             2     information very seriously. Note that Tumblr was acquired by, and is now, a
             3     wholly-owned subsidiary of, Yahoo! Inc. ("Yahoo") as of June 19, 2013. This
             4     policy regarding our privacy practices (the "Privacy Policy") describes how we
             5     treat the information we collect when you visit and use tumblr.com (the "Site")
             6     and/or Tumblr's other domains, products, advertising products, services, and/or
             7     content, including our iOS, Android, and Windows Phone mobile applications
             8     (collectively with the Site, the "Services"). When you use the Services, you
             9     also consent to the collection, transfer, manipulation, storage, disclosure and
         10        other uses of your information as described in this Privacy Policy; please read
         11        it carefully.
         12
         13        What This Privacy Policy Covers
         14
         15          This Privacy Policy covers our treatment of information gathered when you
         16          are using or accessing the Services. This Privacy Policy also covers our
         17          treatment of any information about you that our partners share with us or
         18          that we share with our partners.
         19
         20          This Privacy Policy does not apply to the practices of third parties that we
         21          do not own, control, or manage, including but not limited to any third party
         22          websites, services, applications, or businesses ("Third Party Services").
         23          While we try to work only with those Third Party Services that share our
         24          respect for your privacy, we don't take responsibility for the content or
         25          privacy policies of those Third Party Services. We encourage you to carefully
         26          review the privacy policies of all Third Party Services you access.
         27

https://github.com/tumblr/policy/blob/adfff367b5b81ecab683ac8779630e5e6d03c751/privacy-policy.txt                                       1/9
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         28         Also: This Privacy Policy also doesn't govern what our users do on their
         29         Tumblr blogs and we aren't responsible for the information collection and use
         30         practices of our individual blogs and bloggers. One of the great features of
         31         Tumblr's products is customizability, and bloggers have a lot of flexibility
         32         in how their blogs behave. When you visit a blog in our network, that blog
         33         may collect more information than we do, and may provide information to third
         34         parties that we have no relationship with, including to advertisers.
         35
         36      What We Collect and How We Use It
         37
         38         Account Information:
         39
         40            When you create an account on the Services (an "Account"), we'll ask you
         41            for information such as your username, password, age, and email address
         42            ("Account Information"). We may use Account Information, alone or together
         43            with other information, to enhance and improve the Services, such as by
         44            personalization. We use your age to verify that you can lawfully use the
         45            Services. We use your email address to verify your Account and to
         46            communicate with you, as described in more detail below. We also allow
         47            users to look for their friends by email address; you can, however, opt out
         48            of email lookup through your Account Settings.
         49
         50         Email Communications with Us:
         51
         52            As part of the Services, you may occasionally receive email and other
         53            communications from us. Administrative communications relating to your
         54            Account (e.g., for purposes of Account recovery or password reset) are
         55            considered part of the Services and your Account, which you may not be able
         56            to opt-out from receiving. We also may send you other kinds of emails,
         57            which you can opt-out of either from your Account Settings page or by using
         58            the "Opt-Out" link in the emails themselves. Note that we will never email
         59            you to ask for your password or other Account Information; if you receive
         60            such an email, please forward it to us.
         61
         62         Information about Your Accounts on Third Party Services:
         63
         64            You can link your Account to certain Third Party Services. In order to do
         65            so, you may provide us with your username or other user ID for a Third
         66            Party Service, and you may then be required to log into that Service. After
         67            you complete this login process, we will receive a token that allows us to
         68            access your account on that service so that we can, for example, post your
         69            content to that service when you ask us to. We do not receive or store your
         70            passwords for your Third Party Service accounts.
         71
         72         Information Obtained from Third Party Services:
         73
         74            In some cases, we partner with Third Party Services that may provide
         75            information about you. Such information could include, for example, your
         76            gender, if you have disclosed that information to that third party and made
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         77            it available for Tumblr to access. To the extent we obtain such
         78            information, we may use it to develop new Services or to improve or enhance
         79            the Services.
         80
         81         User Content:
         82
         83            By default, all sharing through the Services is public, and when you
         84            provide us with content it is published so that anyone can view it.
         85            Although we do provide tools, like password-protected blogs, "Asks," and
         86            "Fan Mail," that let you publish content privately, you should assume that
         87            anything you publish is publicly accessible unless you have explicitly
         88            selected otherwise. Also, please keep in mind that anything you share
         89            privately with another user, particularly through an Ask or Fan Mail, may
         90            be posted publicly by that user. Content published and shared publicly is
         91            accessible to everyone, including search engines, and you may lose any
         92            privacy rights you might have regarding that content. In addition,
         93            information shared publicly may be copied and shared throughout the
         94            Internet, including through actions or features native to the Services,
         95            such as "reblogging."
         96
         97         Native Actions:
         98
         99            The Services allow you to perform native actions that are integral to our
       100             products, such as "liking" a post, reblogging a post, "replying" to a post,
       101             and following a blog. Liking, reblogging, and replying are public actions –
       102             anyone can expand the "notes" view on a post, for example, to see who
       103             liked, reblogged, or replied to a post. We use information about native
       104             actions to improve the Services, develop new Services, and, particularly,
       105             to personalize your Tumblr experience. Personalization using this
       106             information may include presenting you with new posts relevant to what
       107             you've liked, providing you with better search results, and showing you
       108             advertising more relevant to your interests.
       109
       110          Information About User Content:
       111
       112             In some cases, we may collect information about content you provide to the
       113             Services. For example, when it's included as part of your images, we may
       114             collect information describing your camera, camera settings, or EXIF
       115             information. This information allows us to improve the Services and provide
       116             additional features and functionality.
       117
       118          Financial Information:
       119
       120             We will sometimes collect financial information, such as information
       121             related to your payment method (valid credit card number, type, expiration
       122             date or other financial information). This happens, when you decide to
       123             purchase a paid Service. We do not, however, store that financial
       124             information; such information is stored by our payment processor (the
       125             "Payment Processor"), and use and storage of that information is governed
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       126             by the Payment Processor's applicable terms of service and privacy policy
       127             (the Payment Processor may also have other terms, and you are responsible
       128             for locating and familiarizing yourself with those terms, as applicable).
       129             We do receive certain information from our Payment Processor: (1) a unique
       130             token that we connect with your Account to enable you to make further
       131             purchases using the information stored by our Payment Processor and (2) in
       132             certain cases, the last four digits of the credit card number associated
       133             with that token, so that we can prevent fraudulent transactions and
       134             identity theft.
       135
       136          Information Related to Use of the Services:
       137
       138             We collect information about how people use the Services, including those
       139             with an Account. This type of information may be collected in our log files
       140             each time you interact with (i.e., make a request to) the Services. We use
       141             internal tools (from both Tumblr and Yahoo) and third party applications
       142             and services (like Google Analytics or comScore), to collect and analyze
       143             this information. Some of this information may also be associated with the
       144             Internet Protocol Address ("IP Address") used to access the Services; some
       145             may be connected with your Account; and some may only be collected and used
       146             in aggregate form (as a statistical measure that wouldn't identify you or
       147             your Account). We also collect your IP Address when you make a post,
       148             particularly when you submit an anonymous "Ask". We may use this
       149             information about how you and others interact with the Services for a
       150             number of things generally related to enhancing, improving, protecting, and
       151             developing new Services, including but not limited to: providing users with
       152             personalized content; providing users with targeted advertising; improving
       153             our search results; identifying trending or popular content; fighting spam,
       154             malware, identity theft and generally keeping our users and community safe;
       155             and for legal and safety reasons as set forth in "Information Disclosed for
       156             Our Protection and the Protection of Others."
       157
       158          Information Related to Your Web Browser:
       159
       160             We automatically receive and record information from your web browser when
       161             you interact with the Services, such as your browser type and version,
       162             what sort of device you are using, your operating system and version, your
       163             language preference, the website or service that referred you to the
       164             Services, the date and time of each request you make to the Services, your
       165             screen display information, and information from any cookies we have placed
       166             on your web browser (as described below). We also sometimes detect whether
       167             you are using certain web browser extensions and store that information in
       168             a manner associated with your Account. We use web browser-related
       169             information to enhance and improve the Services.
       170
       171          Location Information:
       172
       173             In some cases we collect and store information about where you are
       174             located, such as by converting your IP Address into a rough geolocation.
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       175             We may use location information to improve and personalize the Services
       176             for you.
       177
       178          Information Related to Your Mobile Device:
       179
       180             We may collect and store information related to your mobile device. In some
       181             cases, we, or Yahoo (who we use for mobile analytics and other services),
       182             may receive, generate, or assign your mobile device a unique identifier for
       183             the purposes described above in “Information Related to Use of the
       184             Services.” We may also ask you to provide your phone number to enable new
       185             products and improve the Services, such as by enabling multi-factor
       186             authentication for Account login. We will always ask you whether it's OK
       187             for us to collect and store your phone number.
       188
       189          Information Collected Using Cookies and Web Tags:
       190
       191             Cookies are text files that may be sent to and saved by your web browser
       192             when you access a website; your web browser stores these cookies in a way
       193             associated with each website you visit, and you can generally see your
       194             cookies through your browser settings, depending on what browser you're
       195             using. A web tag is code or a pixel embedded in a web page, or email, that
       196             allows Tumblr or a third party to see that you have looked at that page.
       197             We use cookies and web tags to enable our servers to recognize your web
       198             browser and tell us how and when you use the Services, as described above
       199             in "Information Related to Use of the Services." Our cookies do not, by
       200             themselves, contain information that personally identifies you, and we
       201             don't combine the general information collected through cookies with other
       202             such information to tell us who you are. However, we do use cookies to
       203             identify that you have logged in, and that your web browser has accessed the
       204             Services, and we may associate that information with your Account if you
       205             have one. We may also store unique or near-unique identifiers that we
       206             associate with your Account in our cookies. This information, in turn, is
       207             sometimes used as described above in "Information Related to Use of the
       208             Services." Most web browsers have an option for turning off the cookie
       209             feature, which will prevent your browser from accepting new cookies, as
       210             well as (depending on the sophistication of your web browser) allowing you
       211             to decide on acceptance of each new cookie in a variety of ways. If you
       212             disable cookies, you won't be able to log into your Account, and so won't
       213             be able to use the vast majority of our Services; as such, we don't
       214             recommend disabling your cookies when using the Services. Some services
       215             that we use (including Third Party Services), such as Google Analytics and
       216             Yahoo Web Analytics, use web tags and may also place their own cookies on
       217             your browser, and individual blogs on our network may contain code that
       218             places their own cookies. We also run limited-time studies using web tags,
       219             sometimes with third parties, to, for example, measure the effectiveness of
       220             our advertising or email. Note that, unless otherwise disclosed, this
       221             Privacy Policy covers our use of cookies only and does not cover the use of
       222             cookies by third parties.
       223
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       224          Information About Your Contacts:
       225
       226             Certain features of the Services allow you to provide us with your contact
       227             lists, so that we can connect you with people in our Services that are also
       228             on those contact lists. For example, you can temporarily connect your email
       229             contact information to your Account, so that we can provide you with a list
       230             of your email contacts that use the Services. As another example, you can
       231             send us your mobile phone contact information through our mobile
       232             applications, which then allows us to provide you with a list of those
       233             contacts that use the Service so that you can "follow" their blogs. We will
       234             give you a choice as to whether or not you provide us such information, and
       235             we will disclose fully, within the appropriate feature, how we use that
       236             information.
       237
       238          Derived Information:
       239
       240             As described above in "Native Actions" and "Information Related to the Use
       241             of the Services," we analyze your actions on the Services in order to
       242             derive or infer characteristics that may be descriptive of your Account
       243             (for example, what kinds of blogs you follow or what kind of posts you
       244             view, "like", and reblog). We use this information for all of the purposes
       245             set forth in "Information Related to Use of the Services," above.
       246
       247       With Whom Your Information Is Shared
       248
       249          We never share information we receive from you unless:
       250
       251             (a) we have your permission to share that information;
       252
       253             (b) we have given you prior notice that the information will be shared,
       254                    and with whom; or
       255
       256             (c) that information is aggregate information or other information that
       257                    does not identify you.
       258
       259          Information Shared with and Received from our Corporate Parent:
       260
       261             We are a wholly-owned subsidiary of Yahoo, and, as such, Yahoo may receive
       262             any information we do, and may share information it has with us. Yahoo may
       263             use the information it receives from us to help us provide, understand, and
       264             improve the Services (including by providing us with analytics) and in
       265             connection with Yahoo's products and services (including by providing you
       266             with a more personalized experience). For details about how Yahoo treats
       267             the information it collects, please review Yahoo's Privacy Policy.
       268
       269          Information Shared with the Public Through the Services:
       270
       271             As noted in "User Content" and "Native Actions," above, by default, content
       272             published through the Services and many actions you take on the Services
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       273             are shared with the public. Because this kind of information can be seen by
       274             anyone and may be indexed by search engines (like Google Search, or the far
       275             superior Yahoo Search), you should be careful about what you choose to
       276             disclose publicly and make sure it's information you want to share with
       277             everyone.
       278
       279          Information Shared Between the Services:
       280
       281             We may, if possible, aggregate information about your use of multiple
       282             Services and use that consolidated information to enhance and improve the
       283             Services, and to develop new Services.
       284
       285          Information You Share with Third Party Services:
       286
       287             You may access Third Party Services through the Services, for example by
       288             clicking on externally-pointing links. You may also choose to share
       289             information that you provide to us, like blog posts, with those Third
       290             Party Services (for example, by sharing posts to Twitter or Facebook).
       291             This Privacy Policy only governs information we collect and you are
       292             responsible for reading and understanding those Third Party Services'
       293             privacy policies.
       294
       295          Information Shared with Our Agents in Order to Operate and Improve the
       296          Services:
       297
       298             In some cases, we share information that we store (such as IP Addresses)
       299             with third parties, such as service providers, consultants, and other
       300             agents ("Agents"), for the purposes of operating, enhancing, and improving
       301             the Services, and developing new products and services. For example, we may
       302             share information with service providers in order to fight spam, and
       303             third-party consultants may have access to information in the process of
       304             improving our processes and technology. Agents with whom we share such
       305             information for these reasons are generally bound by confidentiality
       306             obligations and, unless we tell you differently, our Agents do not have any
       307             right to use information we share with them beyond the scope and duration
       308             of what is necessary to assist us.
       309
       310          Information Disclosed Pursuant to Business Transfers:
       311
       312             In some cases, we may choose to buy or sell business assets. In these
       313             transactions, user information is typically one of the transferred
       314             business assets. Moreover, if we, or substantially all of our assets, were
       315             acquired, or if we go out of business or enter bankruptcy, user
       316             information would be one of the assets that is transferred or acquired by
       317             a third party. You acknowledge that such transfers may occur, and that any
       318             acquirer of us or our assets may continue to use your Personal Information
       319             as set forth in this policy.
       320
       321          Information Disclosed for Our Protection and the Protection of Others:
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       322
       323             We believe in freedom of expression, and, to the extent reasonable, we try
       324             to protect our community from baseless legal demands. That said, we also
       325             reserve the right to access, preserve, and disclose any information as we
       326             reasonably believe is necessary, in our sole discretion, to (i) satisfy
       327             any law, regulation, legal process, governmental request, or governmental
       328             order, (ii) enforce this Privacy Policy and our Terms of Service,
       329             including investigation of potential violations hereof, (iii) detect,
       330             prevent, or otherwise address fraud, security, trust and safety, or
       331             technical issues (including exchanging information with other companies and
       332             organizations for the purposes of improving security and preventing fraud,
       333             spam, and malware), (iv) respond to user support requests, or (v) protect
       334             the rights, property, health or safety of us, our users, any third parties
       335             or the public in general, including but not limited to situations involving
       336             possible violence, suicide, or self-harm.
       337
       338          Information We Share with Your Consent or at Your Request:
       339
       340             If you ask us to release information that we have about your Account, we
       341             will do so if reasonable and not unduly burdensome.
       342
       343          Information Shared with Other Third Parties:
       344
       345             We may share or disclose non-private information, Aggregate Information, or
       346             other non-personally identifying information with people and entities that
       347             we do business with.
       348
       349       The Security of Your Information
       350
       351          Your Account Information is protected by a password for your privacy and
       352          security. We may enable additional security features in the future, like
       353          multi-factor authentication. You need to prevent unauthorized access to your
       354          Account and information by creating a unique, secure, and protected password
       355          and limiting access to your computer and browser by signing off after you
       356          have finished accessing your Account on the Services.
       357
       358          We seek to protect your information (including your Account Information) to
       359          ensure that it is kept private; however, we can't guarantee the security of
       360          any information. Unauthorized entry or use, hardware or software failure,
       361          and other factors may compromise the security of user information at any
       362          time.
       363
       364       What Information You Can Access
       365
       366          If you are a registered user, you can access most information associated with
       367          your Account by logging into the Services and checking your Account Settings
       368          page. Registered and unregistered users can access and delete cookies through
       369          their web browser settings.
       370
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       371       How to Delete Your Account and What Happens When You Delete Your Account
       372
       373          If you want to delete your Account, you can do so from your Account Settings
       374          page or by emailing us and providing proof of authority over the Account.
       375          What constitutes "proof of authority" will vary depending on the
       376          circumstances, but generally will require sufficient identifying information
       377          so that we can be confident you are the Account owner. Deleting your Account
       378          may not fully remove the content you have published from our systems, as
       379          caching of, backups of, copies of, or references to your Account Information
       380          may not be immediately removed. In addition, given the nature of sharing on
       381          the Services, some of the public activity on your Account prior to deletion
       382          (such as reblogs of your blog posts) may remain stored on our servers and
       383          accessible to the public.
       384
       385       Changes to This Privacy Policy
       386
       387          We may amend this Privacy Policy from time to time, using the process for
       388          modifications set forth in our Terms of Service. Use of information we
       389          collect is subject to the Privacy Policy in effect at the time such
       390          information is collected.
       391
       392       Where to Direct Questions or Concerns
       393
       394          If you have any questions or concerns regarding privacy using the Services,
       395          please send us a detailed message.
       396
       397       Link to Prior Versions
       398
       399          You will find a link to prior versions of our Privacy Policy below. We have
       400          stored these versions on GitHub, which will also allow you to compare
       401          different versions and see what terms have changed:
       402
       403          http://github.com/tumblr/policy/commits/master/privacy-policy.txt




https://github.com/tumblr/policy/blob/adfff367b5b81ecab683ac8779630e5e6d03c751/privacy-policy.txt                                 9/9
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                EXHIBIT B

(To Tumblr Declaration)
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         tumblr/policy
             Code              Pull requests 18                      Actions                Projects          Security                Insights

                 10a83db207
   policy / terms-of-service.txt
                 Lea Sabban Update terms-of-service.txt                                                                                 History
             1 contributor

          Raw        Blame
       607 lines (490 sloc)                32.1 KB

             1     Hello! Welcome to Tumblr’s Terms of Service. Please read this carefully before
             2     using our site, services, or products. This is a contract between you and
             3     Tumblr. We've also included several annotations that aren't a part of the
             4     contract itself, but are intended to emphasize key sections and help you follow
             5     the text. We’ve tried to be fair and straightforward. Please feel free to email
             6     us if you have any questions or suggestions!
             7
             8     1. Accepting the Terms of Service
             9
         10          Please read these Terms of Service and our Community Guidelines
         11          (collectively, the "Agreement") carefully before using tumblr.com
         12          (the "Site") and/or the other domains, websites, products, applications,
         13          mobile applications, services, and/or Content provided by Tumblr, Inc. (all
         14          of those collectively with the Site, the "Services") (Tumblr, Inc., a
         15          Delaware corporation and wholly-owned subsidiary of Yahoo! Inc., a Delaware
         16          corporation, collectively with its agents, representatives, consultants,
         17          employees, officers and directors, "Tumblr," "we," or "us"). By using or
         18          accessing the Services, you ("Subscriber" or "you") agree to be bound by all
         19          the terms and conditions of this Agreement. If you don't agree to all the
         20          terms and conditions of this Agreement, you shouldn't and aren't permitted to
         21          use the Services.
         22
         23        2. Modifications to this Agreement
         24
         25          Tumblr reserves the right to modify this Agreement by (1) posting a revised
         26          Agreement on and/or through the Services and (2) providing notice to you that
         27          this Agreement has changed, generally via e-mail where practicable, and

https://github.com/tumblr/policy/blob/10a83db20735bd930f6dc2a6ab4dca4299b800bf/terms-of-service.txt                                               1/13
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         28         otherwise through the Services (such as through a notification on your Tumblr
         29         Dashboard or in our mobile applications). Modifications will not apply
         30         retroactively. You are responsible for reviewing and becoming familiar with
         31         any modifications to this Agreement.
         32
         33         We may sometimes ask you to review and to explicitly agree to (or reject) a
         34         revised version of this Agreement. In such cases, modifications will be
         35         effective at the time of your agreement to the modified version of this
         36         Agreement. If you do not agree at that time, you are not permitted to use the
         37         Services.
         38
         39         In cases where we do not ask for your explicit agreement to a modified
         40         version of this Agreement, but otherwise provide notice as set forth above,
         41         the modified version of this Agreement will become effective fourteen days
         42         after we have posted the modified Agreement and provided you notification of
         43         the modifications. Your use of the Services following that period constitutes
         44         your acceptance of the terms and conditions of this Agreement as modified.
         45         If you do not agree to the modifications, you are not permitted to use, and
         46         should discontinue your use of, the Services.
         47
         48         Note that, if you have prepaid for any Paid Services (as defined below) prior
         49         to a modification of this Agreement, your use of such prepaid Paid Services
         50         is governed by the version of this Agreement in effect at the time Tumblr
         51         received your prepayment.
         52
         53      3. Use of the Services
         54
         55         Eligibility:
         56
         57            No individual under the age of thirteen (13) may use the Services,
         58            provide any personal information to Tumblr, or otherwise submit personal
         59            information through the Services (including, for example, a name, address,
         60            telephone number, or email address). You may only use the Services if you
         61            can form a binding contract with Tumblr and are not legally prohibited from
         62            using the Services.
         63
         64         Service Changes and Limitations:
         65
         66            The Services change frequently, and their form and functionality may
         67            change without prior notice to you. Tumblr retains the right to create
         68            limits on and related to use of the Services its sole discretion at any
         69            time with or without notice. Tumblr may also impose limits on certain
         70            Services or aspects of those Services or restrict your access to parts or
         71            all of the Services without notice or liability. Tumblr may change,
         72            suspend, or discontinue any or all of the Services at any time, including
         73            the availability of any product, feature, database, or Content (as defined
         74            below). Tumblr may also suspend Accounts (as defined below) at any time,
         75            in its sole discretion.
         76
https://github.com/tumblr/policy/blob/10a83db20735bd930f6dc2a6ab4dca4299b800bf/terms-of-service.txt                                        2/13
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         77         Limitations on Automated Use:
         78
         79            You may not, without express prior written permission, do any of the
         80            following while accessing or using the Services: (a) tamper with, or use
         81            non-public areas of the Services, or the computer or delivery systems of
         82            Tumblr and/or its service providers; (b) probe, scan, or test any system or
         83            network (particularly for vulnerabilities), or otherwise attempt to breach
         84            or circumvent any security or authentication measures; (c) access or search
         85            or attempt to access or search the Services by any means (automated or
         86            otherwise) other than through our currently available, published interfaces
         87            that are provided by Tumblr (and only pursuant to those terms and
         88            conditions) or unless permitted by Tumblr's robots.txt file or other robot
         89            exclusion mechanisms; (d) scrape the Services, and particularly scrape
         90            Content (as defined below) from the Services; (e) use the Services to send
         91            altered, deceptive, or false source-identifying information, including
         92            without limitation by forging TCP-IP packet headers or e-mail headers; or
         93            (f) interfere with, or disrupt, (or attempt to do so), the access of any
         94            Subscriber, host or network, including, without limitation, by sending a
         95            virus to, spamming, or overloading the Services, or by scripted use of the
         96            Services in such a manner as to interfere with or create an undue burden
         97            on the Services.
         98
         99      4. Registration, Tumblr URLs, and Security
       100
       101          As a condition to using certain of the Services, you may be required to
       102          create an account (an "Account") and select a password and Tumblr username,
       103          which will serve as a default link to your default Tumblr blog of the form
       104          [username].tumblr.com (a "Tumblr URL"). You must select a different Tumblr
       105          URL for each new blog you create.
       106
       107          You agree to provide Tumblr with accurate, complete, and updated registration
       108          information, particularly your e-mail address.
       109
       110          You are also responsible for maintaining the confidentiality of your Account
       111          password and for the security of your Account, and you will notify Tumblr
       112          immediately of any actual or suspected loss, theft, or unauthorized use of
       113          your Account or Account password.
       114
       115       5. Privacy
       116
       117          For information about how Tumblr collects, uses, and share your information,
       118          please review our Privacy Policy. You agree that by using the Services you
       119          consent to the collection, use, and sharing (as set forth in the Privacy
       120          Policy) of such information, including the transfer of this information to
       121          the United States and/or other countries for storage, processing, and use by
       122          Tumblr and the Tumblr Affiliates (as defined below).
       123
       124       6. Content and Subscriber Content
       125
https://github.com/tumblr/policy/blob/10a83db20735bd930f6dc2a6ab4dca4299b800bf/terms-of-service.txt                                        3/13
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       126          Definitions:
       127
       128             For purposes of this Agreement: (1) the term "Content" means a creative
       129             expression and includes, without limitation, video, audio, photographs,
       130             images, illustrations, animations, logos, tools, written posts, replies,
       131             comments, information, data, text, software, scripts, executable files,
       132             graphics, Themes (as defined below), and interactive features, any of which
       133             may be generated, provided, or otherwise made accessible on or through the
       134             Services; (2) the term "Subscriber Content" means Content that a Subscriber
       135             submits, transfers, or otherwise provides to the Services. Content
       136             includes, without limitation, all Subscriber Content.
       137
       138          Your Rights in Subscriber Content:
       139
       140             Subscribers retain ownership and/or other applicable rights in Subscriber
       141             Content, and Tumblr and/or third parties retain ownership and/or other
       142             applicable rights in all Content other than Subscriber Content.
       143
       144          Subscriber Content License to Tumblr:
       145
       146             When you provide Subscriber Content to Tumblr through the Services, you
       147             grant Tumblr a non-exclusive, worldwide, royalty-free, sublicensable,
       148             transferable right and license to use, host, store, cache, reproduce,
       149             publish, display (publicly or otherwise), perform (publicly or otherwise),
       150             distribute, transmit, modify, adapt (including, without limitation, in
       151             order to conform it to the requirements of any networks, devices, services,
       152             or media through which the Services are available), and create derivative
       153             works of, such Subscriber Content. The rights you grant in this license are
       154             for the limited purposes of allowing Tumblr to operate the Services in
       155             accordance with their functionality, improve the Services, and develop new
       156             Services. The reference in this license to "creat[ing] derivative works" is
       157             not intended to give Tumblr a right to make substantive editorial changes
       158             or derivations, but does, for example, enable "reblogging," which allows
       159             Tumblr Subscribers to redistribute Subscriber Content from one Tumblr blog
       160             to another in a manner that allows them to add their own text or other
       161             Content before or after your Subscriber Content.
       162
       163             You also agree that this license includes the right for Tumblr to make all
       164             publicly-posted Content available to third parties selected by Tumblr, so
       165             that those third parties can syndicate and/or analyze such Content on
       166             other media and services.
       167
       168             Note also that this license to your Subscriber Content continues even if
       169             you stop using the Services, primarily because of the social nature of
       170             Content shared through Tumblr's Services - when you post something
       171             publicly, others may choose to comment on it, making your Content part of a
       172             social conversation that can't later be erased without retroactively
       173             censoring the speech of others.
       174
https://github.com/tumblr/policy/blob/10a83db20735bd930f6dc2a6ab4dca4299b800bf/terms-of-service.txt                                        4/13
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       175             You also agree that you will respect the intellectual property rights of
       176             others, and represent and warrant that you have all of the necessary rights
       177             to grant us this license for all Subscriber Content you transfer to us.
       178
       179             Tumblr may add its own affiliate code to links posted on Tumblr at its
       180             discretion, provided a user has not previously included their own affiliate
       181             code into the applicable link. Users may opt out of this functionality
       182             here: https://www.tumblr.com/settings/blog.
       183
       184          Content License to You:
       185
       186             As a Subscriber of the Services, Tumblr grants you a worldwide, revocable,
       187             non-exclusive, non-sublicensable, and non-transferable license to
       188             download, store, view, display, perform, redistribute, and create
       189             derivative works of Content solely in connection with your use of, and in
       190             strict accordance with the functionality and restrictions of, the Services
       191             (including, without limitation, Paid Services, as defined below). This
       192             means, for example, that we license Content to you for purposes of
       193             reblogging.
       194
       195          Compliance with Community Guidelines:
       196
       197             You agree that you won't violate Tumblr's Community Guidelines.
       198
       199          Termination and Deletion:
       200
       201             On termination of your Account or upon your deletion of particular pieces
       202             of Subscriber Content from the Services, Tumblr shall make reasonable
       203             efforts to make such Subscriber Content inaccessible and cease use of it;
       204             however, you acknowledge and agree that: (a) removed Subscriber Content may
       205             persist in caches or backups for a reasonable period of time; and (b)
       206             copies of or references to the Subscriber Content may not be entirely
       207             removed (due to the nature of reblogging, for example).
       208
       209       7. Special Provisions for Application Developers
       210
       211          If you develop software or services based on the Services or any Content,
       212          whether using the Tumblr Application Programming Interface or not, you
       213          will agree to and comply with the Tumblr Application Developer and API
       214          License Agreement.
       215
       216       8. Use of Trademarks
       217
       218          Any use of Tumblr's trademarks, branding, logos and other such assets in
       219          connection with the Services shall use Tumblr's approved branding and shall
       220          be in accordance with the Tumblr Trademark Guidelines.
       221
       222       9. Themes
       223
https://github.com/tumblr/policy/blob/10a83db20735bd930f6dc2a6ab4dca4299b800bf/terms-of-service.txt                                        5/13
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       224          Tumblr makes available specialized HTML and CSS code ("Tumblr Template
       225          Code") for the design and layout of blog pages available for use on some of
       226          the Services ("Themes"). Certain Themes are available for purchase as a Paid
       227          Service (as defined below) (such Themes, "Premium Themes"). Purchased
       228          Premium Themes may not be transferred between Accounts, between blogs, or
       229          between Services on a single Account and are subject to the payment terms
       230          herein.
       231
       232          Tumblr grants you a license to customize the Tumblr Template Code to create
       233          your own Themes for use on your blog page (each a "Custom Theme"). If you
       234          choose, you may also contribute your Custom Themes for use by other
       235          Subscribers as Subscriber Content. However, as a condition of this license
       236          allowing you to create Custom Themes, you agree that you won't distribute
       237          such Custom Themes from locations other than Tumblr-owned or approved
       238          websites without our permission, as set out in our [Community Guidelines].
       239
       240          Note also that other Subscribers may use your Custom Themes after you have
       241          removed them from distribution, and you hereby grant those Subscribers an
       242          irrevocable license to use those Custom Themes as contributed by you. In
       243          other words, you can remove and stop distribution of your Custom Themes, but
       244          Subscribers who are already using them can keep using them.
       245
       246          To develop and distribute Custom Themes that are Premium Themes, please
       247          contact us.
       248
       249       10. Paid Services
       250
       251          Some of the Services require payment of fees (the "Paid Services," including
       252          without limitation Premium Themes). All fees are stated in United States
       253          dollars. You shall pay all applicable fees, as described in the applicable
       254          Services, in connection with such Services, and any related taxes or
       255          additional charges.
       256
       257          Paid Services are limited licenses for you to use particular for-pay aspects
       258          of the Services. Usage of terms like sell, sale, buy, purchase, or similar
       259          terms all refer to your acquisition of a license to use Paid Services, and
       260          do not represent any transfer of any right, title, or ownership interest of
       261          any kind. You may not relicense, resell, transfer, or exchange Paid Services
       262          within or outside of the Services, except as expressly allowed by the rules
       263          of those Paid Services.
       264
       265          Tumblr may, in its sole discretion, modify the functionality of, or
       266          eliminate, Paid Services, or the terms and conditions under which Paid
       267          Services are provided.
       268
       269          Purchases of Paid Services are final and non-refundable (particularly those
       270          Paid Services that may be used immediately, such as Promotions, as defined
       271          below), except at Tumblr's sole discretion and in accordance with the rules
       272          governing each Paid Service. Termination of your Account or your rights under
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       273          this Agreement may result in forfeiture of purchased Paid Services. For
       274          example, if your Account is suspended, you forfeit your license to any
       275          Premium Themes you have purchased.
       276
       277          Tumblr may change its prices for Paid Services at any time. To the extent
       278          applicable, Tumblr will provide you reasonable notice of any such pricing
       279          changes by posting the new prices on or through the applicable Paid Service
       280          and/or by sending you an email notification. If you do not wish to pay the
       281          new prices, you may choose not to purchase, or to cancel, the applicable Paid
       282          Service prior to the change going into effect.
       283
       284       11. Special Provisions for Promotions
       285
       286          Some features of the Services may allow you to promote yourself to other
       287          Subscribers, and some of these features may be Paid Services ("Promotions").
       288
       289          The following additional terms apply to Promotions:
       290
       291             - Things that you promote will comply with this Agreement; if they don't,
       292                Tumblr reserves the right, in its sole discretion, to cancel a Promotion
       293                without refund or recourse to you.
       294
       295             - Tumblr may remove or disable any Promotion for any reason in its sole
       296                discretion.
       297
       298             - Unless otherwise specified, Tumblr does not guarantee any activity that
       299                Promotions may receive, including but not limited to clicks, "likes", and
       300                reblogs. Tumblr cannot control how Subscribers interact with Promotions
       301                and is not responsible for "click fraud" or other fraudulent actions by
       302                third parties, including, without limitation, Subscribers. Tumblr doesn't
       303                guarantee that its reporting related to Promotions will be accurate or
       304                complete, nor does it guarantee that Promotions will behave in a
       305                particular manner, and Tumblr shall not be liable to you or responsible
       306                for any erroneous reporting about or errant behavior of or related to
       307                Promotions (e.g., any errors in how "likes" or reblogs are counted).
       308
       309             - Promotions may allow targeting to some Subscriber characteristics. Tumblr
       310                does not guarantee that any particular Promotion will reach a particular
       311                sort of individual in all cases.
       312
       313             - You can cancel certain Promotions at any time depending on their
       314                functionality, but you are responsible for paying for Promotions at least
       315                to the extent they have already been used or distributed through the
       316                Services.
       317
       318             - By submitting a Promotion, you license Tumblr to run that Promotion for
       319                as long as you have specified, which, depending on the Promotion, may be
       320                perpetually. This license ends when the Promotion has been completed or
       321                cancelled, but it may take up to forty eight (48) hours for a Promotion
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       322                to stop being reflected on the Services.
       323
       324       12. Warranty Disclaimer; Services Available on an "AS-IS" Basis
       325
       326          Your access to and use of the Services or any Content is at your own risk.
       327          YOU UNDERSTAND AND AGREE THAT THE SERVICES ARE PROVIDED TO YOU ON AN "AS IS"
       328          AND "AS AVAILABLE" BASIS. WITHOUT LIMITING THE FOREGOING, TO THE FULL EXTENT
       329          PERMITTED BY LAW, TUMBLR DISCLAIMS ALL WARRANTIES, EXPRESS OR IMPLIED, OF
       330          MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR NON-INFRINGEMENT.
       331          Tumblr makes no representations or warranties of any kind with respect to
       332          the Services, including any representation or warranty that the use of the
       333          Services will (a) be timely, uninterrupted or error-free or operate in
       334          combination with any other hardware, software, system or data, (b) meet your
       335          requirements or expectations, (c) be free from errors or that defects will
       336          be corrected, or (d) be free of viruses or other harmful components. Tumblr
       337          also makes no representations or warranties of any kind with respect to
       338          Content; Subscriber Content, in particular, is provided by and is solely the
       339          responsibility of, the Subscribers providing that Content. No advice or
       340          information, whether oral or written, obtained from Tumblr or through the
       341          Services, will create any warranty not expressly made herein.
       342
       343       13. Time Limitation on Claims and Releases From Liability
       344
       345          You agree that any claim you may have arising out of or related to this
       346          Agreement or your relationship with Tumblr must be filed within one year
       347          after such claim arose; otherwise, your claim is permanently barred.
       348
       349          You further release, to the fullest extent permitted by law, Tumblr and its
       350          employees, agents, consultants, directors, shareholders, any other person or
       351          entity that directly or indirectly controls, is under common control with, or
       352          is directly or indirectly controlled by, Tumblr (the "Tumblr Affiliates")
       353          from responsibility, liability, claims, demands, and/or damages (actual and
       354          consequential) of every kind and nature, known and unknown (including but not
       355          limited to claims of negligence), arising out of or related to the following:
       356
       357             - Disputes between Subscribers, including those between you and other
       358                Subscribers.
       359
       360             - The acts of third parties generally (i.e., individuals or entities who
       361                are not Tumblr or a Tumble Affiliate), including third party sites and
       362                services.
       363
       364             - Disputes concerning any use of or action taken using your Account by you
       365                or a third party.
       366
       367             - Claims relating to the unauthorized access to any data communications
       368                relating to, or Content stored under or relating to, your Account,
       369                including but not limited to unauthorized interception, use, or
       370                alteration of such communications or your Content. For the sake of
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       371                clarity, this includes any and all claims related to the security of your
       372                Account credentials.
       373
       374             - Claims relating to any face-to-face meetings in any way
       375                related to Tumblr at any venues ("Meetups"), including without
       376                limitation claims related to the actions or omissions of any Subscribers
       377                or third parties who organize, attend, or are otherwise involved in any
       378                Meetups; see our Meetups page for more information. Unless otherwise
       379                expressly disclosed in writing, Tumblr does not sponsor, oversee, or in
       380                any manner control Meetups.
       381
       382          If you are a California resident, you waive California Civil Code § 1542,
       383          which says: "A general release does not extend to claims which the creditor
       384          does not know or suspect to exist in his favor at the time of executing the
       385          release, which if known by him must have materially affected his settlement
       386          with the debtor."
       387
       388       14. Limitation of Liability
       389
       390          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, TUMBLR AND THE TUMBLR
       391          AFFILIATES SHALL NOT BE LIABLE FOR: (A) ANY INDIRECT, INCIDENTAL, EXEMPLARY
       392          PUNITIVE, OR CONSEQUENTIAL DAMAGES OF ANY KIND WHATSOEVER; (B) LOSS OF:
       393          PROFITS, REVENUE, DATA, USE, GOODWILL, OR OTHER INTANGIBLE LOSSES; (C)
       394          DAMAGES RELATING TO YOUR ACCESS TO, USE OF, OR INABILITY TO ACCESS OR USE THE
       395          SERVICES; (D) DAMAGES RELATING TO ANY CONDUCT OR CONTENT OF ANY THIRD PARTY
       396          OR SUBSCRIBER USING THE SERVICES, INCLUDING WITHOUT LIMITATION, DEFAMATORY,
       397          OFFENSIVE OR ILLEGAL CONDUCT OR CONTENT; AND/OR (E) DAMAGES IN ANY MANNER
       398          RELATING TO ANY CONTENT. THIS LIMITATION APPLIES TO ALL CLAIMS, WHETHER BASED
       399          ON WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, WHETHER OR NOT TUMBLR
       400          HAS BEEN INFORMED OF THE POSSIBILITY OF SUCH DAMAGE, AND FURTHER WHERE A
       401          REMEDY SET FORTH HEREIN IS FOUND TO HAVE FAILED ITS ESSENTIAL PURPOSE.
       402
       403          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, THE TOTAL LIABILITY OF
       404          TUMBLR AND THE TUMBLR AFFILIATES, FOR ANY CLAIM UNDER THIS AGREEMENT,
       405          INCLUDING FOR ANY IMPLIED WARRANTIES, IS LIMITED TO THE GREATER OF ONE
       406          HUNDRED DOLLARS (US$100.00) OR THE AMOUNT YOU PAID US TO USE THE APPLICABLE
       407          SERVICE(S).
       408
       409       15. Exclusions to Warranties and Limitation of Liability
       410
       411          Some jurisdictions may not allow the exclusion of certain warranties or the
       412          exclusion/limitation of liability as set forth in Section 14, so the
       413          limitations above may not apply to you.
       414
       415       16. Termination
       416
       417          Either party may terminate this Agreement at any time by notifying the other
       418          party. Tumblr may terminate or suspend your access to or ability to use any
       419          and all Services immediately, without prior notice or liability, for any
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       420          reason or no reason, including but not limited to if you breach any of the
       421          terms or conditions of this Agreement. In particular, Tumblr may immediately
       422          terminate or suspend Accounts that have been flagged for repeat copyright
       423          infringement.
       424
       425          Upon termination of your access to or ability to use a Service, including
       426          but not limited to suspension of your Account on a Service, your right to
       427          use or access that Service and any Content will immediately cease. All
       428          provisions of this Agreement that by their nature should survive termination
       429          shall survive termination, including, without limitation, ownership
       430          provisions, warranty disclaimers, and limitations of liability. Termination
       431          of your access to and use of the Services shall not relieve you of any
       432          obligations arising or accruing prior to such termination or limit any
       433          liability that you otherwise may have to Tumblr or any third party.
       434
       435       17. Choice of Law and Venue
       436
       437          You and Tumblr agree that we will resolve any claim or controversy at law or
       438          equity that arises out of this Agreement or the Services in accordance with
       439          this Section or as you and Tumblr otherwise agree in writing. Before
       440          resorting to formal dispute, we strongly encourage you to contact us to seek
       441          a resolution.
       442
       443          Law and Forum for Legal Disputes: This Agreement shall be governed in all
       444          respects by the laws of the State of New York as they apply to agreements
       445          entered into and to be performed entirely within New York between New York
       446          residents, without regard to conflict of law provisions. You agree that any
       447          claim or dispute you may have against Tumblr must be resolved exclusively by
       448          a state or federal court located in New York County, New York, except as
       449          otherwise agreed by the parties. You agree to submit to the personal
       450          jurisdiction of the courts located within New York County, New York for the
       451          purpose of litigating all such claims or disputes.
       452
       453          If you are (a) a United States federal, state, or local government agency or
       454          body, (b) using the Services in your official capacity, and (c) legally
       455          unable to accept the clauses in this Section, then this Section doesn't apply
       456          to you. For such entities, this Agreement and any related action will be
       457          governed by the laws of the United States of America, without regard to
       458          conflict of law provisions, and, in the absence of federal law and to the
       459          extent permitted under federal law, the laws of the State of New York,
       460          excluding choice of law.
       461
       462       18. Miscellaneous
       463
       464          This Agreement, as modified from time to time, constitutes the entire
       465          agreement between you and Tumblr with respect to the subject matter hereof.
       466          This Agreement replaces all prior or contemporaneous understandings or
       467          agreements, written or oral, regarding the subject matter hereof and
       468          constitutes the entire and exclusive agreement between the parties. The
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       469          failure of either party to exercise, in any way, any right provided for
       470          herein shall not be deemed a waiver of any further rights hereunder. If any
       471          provision of this Agreement is found to be unenforceable or invalid, that
       472          provision shall be limited or eliminated to the minimum extent necessary so
       473          that this Agreement shall otherwise remain enforcable and in full force and
       474          effect. This Agreement is not assignable, transferable, or sublicensable by
       475          you except with Tumblr's prior written consent. Tumblr may assign this
       476          Agreement in whole or in part at any time without your consent. No agency,
       477          partnership, joint venture, or employment is created as a result of this
       478          Agreement and you do not have any authority of any kind to bind Tumblr in any
       479          respect whatsoever. Any notice to Tumblr that is required or permitted by
       480          this Agreement shall be in writing and shall be deemed effective upon
       481          receipt, when delivered in person by nationally recognized overnight courier
       482          or mailed by first class, registered or certified mail, postage prepaid, to
       483          Tumblr, Inc., 35 East 21st Street, Ground Floor, New York, NY, 10010, Attn:
       484          Legal Department.
       485
       486       19. Special Provisions for Subscribers Located Outside of the United States
       487
       488          Tumblr provides global products and services and enables a global community
       489          for individuals to share and follow the things they love. Tumblr's servers
       490          and operations are, however, located in the United States, and Tumblr's
       491          policies and procedures are based on United States law. As such, the
       492          following provisions apply specifically to Subscribers located outside of the
       493          United States: (1) you consent to the transfer, storage, and processing of
       494          your information, including but not limited to Subscriber Content and any
       495          personal information, to and in the United States and/or other countries;
       496          and (2) if you are using the Services from a country embargoed by the United
       497          States, or are on the United States Treasury Department's list of "Specially
       498          Designated Nationals," you agree that you will not engage in financial
       499          transactions, or conduct any commercial activities using or through the
       500          Services (for example, purchasing Premium Themes).
       501
       502       20. DMCA Copyright Policy
       503
       504          Tumblr has adopted the following policy toward copyright infringement on the
       505          Services in accordance with the Digital Millennium Copyright Act (the
       506          "DMCA"). The address of Tumblr's Designated Agent for copyright takedown
       507          notices ("Designated Agent") is listed below. You may submit a notice under
       508          the DMCA using our copyright form.
       509
       510          Reporting Instances of Copyright Infringement:
       511
       512             If you believe that Content residing or accessible on or through the
       513             Services infringes a copyright, please send a notice of copyright
       514             infringement containing the following information to the Designated Agent
       515             at the address below:
       516
       517                - Identification of the work or material being infringed.
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       518
       519                - Identification of the material that is claimed to be infringing,
       520                   including its location, with sufficient detail so that Tumblr is
       521                   capable of finding it and verifying its existence.
       522
       523                - Contact information for the notifying party (the "Notifying Party"),
       524                   including name, address, telephone number and e-mail address.
       525
       526                - A statement that the Notifying Party has a good faith belief that the
       527                   material is not authorized by the copyright owner, its agent or law.
       528
       529                - A statement made under penalty of perjury that the information
       530                   provided in the notice is accurate and that the Notifying Party is
       531                   authorized to make the complaint on behalf of the copyright owner.
       532
       533                - A physical or electronic signature of a person authorized to act on
       534                   behalf of the owner of the copyright that has been allegedly
       535                   infringed.
       536
       537             Please also note that the information provided in a notice of copyright
       538             infringement may be forwarded to the Subscriber who posted the allegedly
       539             infringing content. After removing material pursuant to a valid DMCA
       540             notice, Tumblr will immediately notify the Subscriber responsible for the
       541             allegedly infringing material that it has removed or disabled access to the
       542             material. Tumblr will terminate, under appropriate circumstances, the
       543             Accounts of Subscribers who are repeat copyright infringers, and reserves
       544             the right, in its sole discretion, to terminate any Subscriber for actual
       545             or apparent copyright infringement.
       546
       547          Submitting a DMCA Counter-Notification:
       548
       549             If you believe you are the wrongful subject of a DMCA notification, you
       550             may file a counter-notification with Tumblr by providing the following
       551             information to the Designated Agent at the address below:
       552
       553                - The specific URLs of material that Tumblr has removed or to which
       554                   Tumblr has disabled access.
       555
       556                - Your name, address, telephone number, and email address.
       557
       558                - A statement that you consent to the jurisdiction of Federal District
       559                   Court for the judicial district in which your address is located (or
       560                   the federal district courts located in New York County, New York if
       561                   your address is outside of the United States), and that you will
       562                   accept service of process from the person who provided the original
       563                   DMCA notification or an agent of such person.
       564
       565                - The following statement: "I swear, under penalty of perjury, that I
       566                   have a good faith belief that the material was removed or disabled as
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       567                   a result of a mistake or misidentification of the material to be
       568                   removed or disabled."
       569
       570                - Your signature.
       571
       572             Upon receipt of a valid counter-notification, Tumblr will forward it to
       573             Notifying Party who submitted the original DMCA notification. The original
       574             Notifying Party (or the copyright holder he or she represents) will then
       575             have ten (10) days to notify us that he or she has filed legal action
       576             relating to the allegedly infringing material. If Tumblr does not receive
       577             any such notification within ten (10) days, we may restore the material to
       578             the Services.
       579
       580          Designated Agent
       581
       582             Tumblr, Inc.
       583             35 East 21st Street, Ground Floor
       584             New York, NY 10010
       585             Attn: Copyright Agent
       586             Fax: +1 (646) 513-4321
       587             Email: dmca@tumblr.com
       588             Copyright notice form: http://www.tumblr.com/dmca
       589
       590       21. Open Source Disclosures
       591
       592          You can find disclosures related to our use of open source software packages
       593          at the following locations:
       594
       595             - http://www.tumblr.com/policy/en/ios_credits
       596
       597             - http://www.tumblr.com/policy/en/android_credits
       598
       599             - http://www.tumblr.com/policy/en/web_credits
       600
       601       Link to Prior Versions
       602
       603             You will find prior versions of our Terms of Service on GitHub, which will
       604             allow you to compare historical versions and see which terms have been
       605             updated:
       606
       607             http://github.com/tumblr/policy/commits/master/terms-of-service.txt




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